                    UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA


National Association for the Advancement
of Colored People, et al

       v.                                             Case Number:    1:20CV00613

Jerry Peterman, et al


                          NOTICE OF RESCHEDULING

       Take notice that the above-entitled case set for Initial Pretrial Conference on December

28, 2020 at 9:30 a.m. in Greensboro, N.C., has been rescheduled until December 14, 2020 at 9:30

a.m. in Greensboro, N.C., Courtroom No. 1A.




John S. Brubaker, Clerk

By: /s/ Kimberly Garrett, Deputy Clerk


Date: November 24, 2020


TO: ALL COUNSEL AND/OR PARTIES OF RECORD




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